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                                                                                            Not just pure, Icelandic pure.™




                                                                            ™                                                                  ™




Leading the Pack on Purity
Icelandic+ makes all-natural pet treats – using ethically sourced, pure Icelandic
ingredients – that meet the specific digestive, physiological, metabolic, and nutritional
needs of dogs and cats. Our in-house physiologist and nutritionist make sure of
it. Plus, all materials used in our edible horns and other pet treats are traceable to
their origin, providing greater accountability and transparency, and it protects the
integrity of our products.

Icelandic+ is a green business. As part of our commitment to purity, we’ve partnered
with farms and processing facilities to establish a revenue-generating solution that
                                                                                             Why lamb horns?
helps reduce landfill mass by making good use of nutrient-rich animal bi-products.           • A good source of protein, iron, zinc, and
We also process our treats with geothermal-based energy, a clean and sustainable                other nutrients.
energy that comes directly from the heat of the Earth. For all packaging and bagging         • 100% ingestible and digestible (unlike deer/
supplies, Icelandic+ uses only Earth Rated® materials. All this because we believe in           elk antlers and Buffalo horns).
healthy pets and a healthy environment.                                                      • Ideal for safe chewing and easier on a
                                                                                                dog’s teeth.
Icelandic+ Lamb Horns                                                                        • Help keep teeth clean and healthy.
We’re first introducing our new Icelandic Lamb Horns that are an optimal dental
                                                                                             • Sourced from free-range, nature-fed Icelandic
chew treat made from 100% pure Icelandic lamb. Dogs find them impossible to                     lambs reared for human consumption.
resist – they’re flavorful, healthy, and fun! Lamb horns are also an ethical choice
                                                                                             • Adhere to strict agricultural and inspection
that eco-conscious pet owners will love. Once a lamb bi-product formerly tossed                 laws of Iceland, the U.S., and EU to ensure
into landfills, they’re now a sustainable dog treat with loads of nutrition and                 the highest standard of quality and safety.
chewing satisfaction.                                                                        • A sustainable option for eco-conscious
                                                                                                pet owners.
                                                                                             • No preservatives, flavors, or additives.
                                                                                             • They have a serious fun factor that dogs love!

   All                Zero              Zero           100% Ingestible/         100%
Nature-Fed        Preservatives       Hormones            Digestible            Viking
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™                                                                                                                                                ™




About Iceland and Icelandic Lamb                                                       Product Availability
Iceland is one of the most virgin landscapes in the world with a pristine coastline,   • LAMB HORNS:
lush farmlands, majestic glaciers, fiery volcanoes, and untouched highlands. It          Immediate with continual delivery

redefines purity. Products harvested from this clean, natural environment, like our    • MARROW BONES:
lamb horns for dogs and other pet treats, benefit from higher levels of nutrients        Immediate with continual delivery

and the absence of chemicals like pesticides, herbicides, and other toxins.            • FISH SKINS:
                                                                                         Fall 2015 with limited initial delivery
Brought to Iceland by the Vikings thousands of years ago, Icelandic lamb is            • OTHER TREAT PRODUCTS:
considered to be one of the healthiest meats to eat. It is genetically pure and they     Fall 2015 and Spring 2016
are exclusively raised outside, breathing Iceland’s unpolluted mountain air, roaming   • PET FOOD PRODUCTS:
its pastures, drinking mineral-rich water, and feeding on wild grass, moss, sage,        Spring 2017
and everything nature’s bounty has to oﬀer. It is forbidden to give Icelandic lambs
hormones as growth promoters or feed them grain with antibiotics as an additive.
Even Iceland’s strict inspection procedures ensure hygiene, quality control, and
traceability. It’s the epitome of healthy and pure.

Why Partner with Icelandic+?
We go above and beyond all natural and organic with pet treats that authentically
stand out as 100% pure. There is no other pet brand that oﬀers the level of pet
pleasure, nutrition, and sustainability as Icelandic+. Plus, we oﬀer complete
branding and marketing support to any retail partner who brings the category
into their selling environment. We know that this level of support ensures greater
education about the Icelandic+ brand, our commitment to the environment, our
pure products, and will help increase sales.

Contact our sales team today for more information about our lamb horns and other
upcoming products, get pricing information, or to make an order.

For all sales and product related inquiries please contact us at:                                                                ™
info@ icelandicplus.is




                                                                                       © IcelandicPLUS ehf.
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                                                                                       www.icelandicplus.is
                                                                                       Product of Iceland
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VIKINGS ALWAYS DID                                                                                           SO WILL
LOVE THEIR HORNS.                                                                                           YOUR DOG.




And while the pure taste and wholesome goodness of our 100% natural
Icelandic lamb horns might not turn your dog into a Viking warrior, you’ll
feel better knowing his treats come from the purest place on earth.

IcelandicPlus™ Lamb Horns. Look for them wherever fine pet products                          Not just pure, Icelandic pure.™
are sold. Like us on Facebook for special offers on our horns.                               www.icelandicplus.is
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    FROM ICELAND,                                                                                        ODIN WOULD
    A DOG TREAT FIT                                                                                       APPROVE.
     FOR THE GODS




And why wouldn’t he? After all, our 100% lamb horns come from Iceland,
the purest place in all the world. You’ll love knowing that nothing goes into
IcelandicPlus™ lamb horns but lamb horn. No fillers or preservatives of any kind.

IcelandicPlus™ Lamb Horns. Look for them wherever fine pet products                           Not just pure, Icelandic pure.™
are sold. Like us on Facebook for special offers on our horns.                                www.icelandicplus.is
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       THE VIKINGS                                                                                    YOUR DOG HAS
      HAD VALHALLA.                                                                                    LAMB HORNS.




Who ever said all dogs go to heaven must have known about our 100% pure
Icelandic lamb horns. Your dog will love them for their meaty taste. You’ll
love them knowing that there’s nothing in our lamb horns but pure lamb.

IcelandicPlus™ Lamb Horns. Look for them wherever fine pet products                                             Not just pure, Icelandic pure.™
are sold. Like us on Facebook for special offers on our horns.                                                  www.icelandicplus.is
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        THE VIKINGS                                                                                   YOUR DOG HAS
       HAD VALHALLA                                                                                    LAMB HORNS.
       FOR PARADISE.




Who ever said all dogs go to heaven must have known about our 100% pure
Icelandic lamb horns. Your dog will love them for their meaty taste. You’ll
love them knowing that there’s nothing in our lamb horns but pure lamb.

IcelandicPlus™ Lamb Horns. Look for them wherever fine pet products                                             Not just pure, Icelandic pure.™
are sold. Like us on Facebook for special offers on our horns.                                                  www.icelandicplus.is
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She can trace her father

                                                                                                  P U RE
back to the British,
her mother back to the
Germans, and her treats
back to the Vikings.
When you love your dog, it doesn’t matter
where she came from. Or who her parents
were. Or how pure her DNA is. But when it
comes to her health, it’s good to know no
other dog treat is as deliciously wholesome
as IcelandicPlus™ Lamb Horns. Your dog
will love them. And you’ll love the peace
of mind that comes from knowing that
only the purest place on earth could
make the purest dog treat.

IcelandicPlus™ Lamb Horns. Look for
them wherever fine pet products are
sold. Like us on Facebook for special
offers on our horns.




The best treats for the most loved pets.™
www.icelandicplus.is
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                                                                                               P U RE
Who cares how
pure her DNA is.
Her treats come
from the purest
place in the world.
When it’s your dog, what matters isn’t how
pure her breeding is, it’s how pure her treats
are. And in all the world, there simply is no
purer, more wholesomely delicious treat
than IcelandicPlus™ Lamb Horns. Your
dog will love them. And you’ll love the
feeling that comes from knowing that
only the purest place on earth could
make a dog treat this nutritious.

IcelandicPlus™ Lamb Horns. Look for
them wherever fine pet products are
sold. Like us on Facebook for special
offers on our horns.




The best treats for the most loved pets.™
www.icelandicplus.is
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                                                                                                 P U RE
Her genes
might not be
the purest on
earth, but her
treats are.
She’ll never win a dog show. But one thing is
for sure. She’s won your heart. And nothing else
matters. When your dog means the world to you,
you want the best for her. And when it comes
to her treats, there’s nothing more delicious
or wholesome than IcelandicPlus™ Lamb
Horns. Your dog will love them. And you’ll
love the peace of mind that comes from
knowing that only the purest place on
earth could make the purest dog treat.

IcelandicPlus™ Lamb Horns. Look for
them wherever fine pet products are
sold. Like us on Facebook for special
offers on our horns.




The best treats for the most loved pets.™
www.icelandicplus.is
